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&KHYURQGRHVQRWNQRZ6DOD]DU¶VIXOOUROHLQWKHFDVHIURPWKURXJKEXWLWLVVWULNLQJ

WKDWKHZRXOGFKRRVHWRPLVUHSUHVHQWKLVSULRULQYROYHPHQWLQDVZRUQVWDWHPHQWWRWKLV&RXUW

        6LQFHDWOHDVW6DOD]DUKDVRSHQO\VHUYHGDVFRXQVHOWRWKH)'$DQGKDVEHHQDNH\

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'RFXPHQWVSURGXFHGE\WKLUGSDUWLHVGHPRQVWUDWHWKDW6DOD]DUZDVLQWHJUDOWR'RQ]LJHU¶VVFKHPH

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        6DOD]DUKDVDOVRSOD\HGDNH\UROHLQ'RQ]LJHU¶VVRFDOOHGSUHVVXUHFDPSDLJQ$W

'RQ]LJHU¶VUHFHQWEDUVDQFWLRQVKHDULQJ6DOD]DUWHVWLILHGWKDWKHKDVUHSHDWHGO\WUDYHOHGWRWKH

86WRDWWHQG&KHYURQVKDUHKROGHUPHHWLQJVZKHUHKHKDVUDLVHGWKH/$3V¶IDOVHDOOHJDWLRQVLQ

DQDWWHPSWWRSUHVVXUH&KHYURQ6HH([VHHDOVR([ GHVFULELQJ/$3VHIIRUWVWRSUHVVXUH

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KROGLQJDLQWHUHVWLQWKH(FXDGRULDQMXGJPHQW 7KXV6DOD]DULVDQ\WKLQJEXWDGLVLQWHU

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       2Q6HSWHPEHU&KHYURQEHFDPHDZDUHWKDW6DOD]DUKDGWUDYHOHGWR1HZ<RUNWR

DWWHQGDKHDULQJUHJDUGLQJWKHDSSURSULDWHVDQFWLRQIRU'RQ]LJHU¶VSURIHVVLRQDOPLVFRQGXFW7KH

KHDULQJZDVVFKHGXOHGWRODVWIURP6HSWHPEHUWKURXJK6HSWHPEHU,QOLJKWRIWKHIDFWWKDW

VXFKDNH\ZLWQHVVZDVQRZZLWKLQWKHMXULVGLFWLRQRIWKLV&RXUW&KHYURQWRRNWKHRSSRUWXQLW\

WRVHUYH6DOD]DUZLWKDGRFXPHQWVXESRHQDDQGGHSRVLWLRQVXESRHQDXQGHU1HZ<RUNVWDWHODZ

DQGWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH FROOHFWLYHO\WKH³6XESRHQDV´ 6HH'NW7R

PLQLPL]HWKHLQFRQYHQLHQFHRQ6DOD]DU&KHYURQVHWWKHSODFHRIWKHGHSRVLWLRQDQGWKHSODFHIRU

WKHSURGXFWLRQRIGRFXPHQWVLQ1HZ<RUN&LW\²ZLWKLQDPLQXWHVXEZD\ULGHRIZKHUH6DOD

]DUZDVVHUYHG²DQGWKHGDWHRIWKHGHSRVLWLRQIRU6HSWHPEHU²MXVWRQHGD\EH\RQG6DOD]DU¶V

DOUHDG\SODQQHGVWD\LQ1HZ<RUN

       2Q6HSWHPEHUODZ\HUVUHSUHVHQWLQJ6DOD]DUFRQWDFWHG&KHYURQWRVHHNDQH[

WHQVLRQRIWKHWLPHWRUHVSRQGRUPRYHWRTXDVK([&KHYURQDJUHHGWRWKHH[WHQVLRQSUR

YLGHG6DOD]DUDJUHHGWRUHWXUQWRWKH8QLWHG6WDWHVVKRXOGWKLV&RXUWHQIRUFHWKH6XESRHQDV,G

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6DOD]DUDJUHHGWRWKRVHWHUPVRQFH&KHYURQVWDWHGWKDWLWZRXOGSD\IRUWKHFRVWRI6DOD]DU¶V

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YLDHPDLOUHJDUGLQJ6DOD]DU¶VREMHFWLRQV,G2QFH&KHYURQDUWLFXODWHGLWVSRVLWLRQ6DOD]DU¶V

FRXQVHOUHEXIIHG&KHYURQ¶VDWWHPSWVWRIXUWKHUGLVFXVVWKHLVVXHVDQGLQVWHDGILOHGWKHPRWLRQWR

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ILFDWLRQLVJHQHUDOO\SUHIHUUHGRYHUTXDVKLQJRIDVXESRHQD´<XNRV&DSLWDO6$5/Y)HOGPDQ

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ZLWQHVVLQWKHVHSRVWMXGJPHQWSURFHHGLQJV'RQ]LJHU¶VFRQWLQXHGUHIXVDOWRSDUWLFLSDWHLQSRVW

MXGJPHQWGLVFRYHU\PHDQVWKDW&KHYURQLVZKROO\UHOLDQWRQREWDLQLQJHVVHQWLDOGLVFRYHU\IURP

WKLUGSDUWLHVOLNH6DOD]DU,QUHVSRQVH6DOD]DUGRHVQRWGLVSXWHWKDWKHKROGVHYLGHQFHUHOHYDQW

WRWKHVHSURFHHGLQJV,QVWHDG6DOD]DUUDLVHVDQXPEHURIWHFKQLFDODUJXPHQWVWRDYRLGKLVREOL

JDWLRQVXQGHUWKH6XESRHQDV1RQHDUHPHULWRULRXV

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<RUNODZ5XOH D  SURYLGHVWKDWDSDUW\PD\WDNHSRVWMXGJPHQWGLVFRYHU\³DVSURYLGHGLQ

WKHVHUXOHVRUE\WKHSURFHGXUHRIWKHVWDWHZKHUHWKHFRXUWLVORFDWHG´+HUHWKH6XESRHQDV

ZHUHYDOLGO\VHUYHGXQGHUERWKIHGHUDOODZDQG1HZ<RUNVWDWHODZZKLFKSURYLGHVWKDWDMXGJ

PHQWFUHGLWRUPD\VHUYHGHSRVLWLRQDQGGRFXPHQWVXESRHQDV6HH&3/58QOLNH5XOH

1HZ<RUNODZSURYLGHVWKDWDGHSRVLWLRQRIDQRQUHVLGHQWPD\EHWDNHQ³ZLWKLQWKHFRXQW\LQ

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KHUH²KHZDVSHUVRQDOO\VHUYHGZLWKLQ0DQKDWWDQ²DQGWKXVWKHUHLVQRGRXEWWKDWWKH6XESRH

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        6DOD]DU¶VYDULRXVDUJXPHQWVDJDLQVWDSSO\LQJWKHVWUDLJKWIRUZDUGVWDQGDUGVRI

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5XOH D  DXWKRUL]HVGLVFRYHU\WRHQIRUFHERWK&KHYURQ¶VPRQH\MXGJPHQWDQGWKLV&RXUW¶V

5,&2LQMXQFWLRQ6HFRQGDVWKLV&RXUWKDVSUHYLRXVO\IRXQG1HZ<RUNSURFHGXUDOUXOHV²QRW

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GRFXPHQWVUHODWHGWRDFWLRQVWDNHQE\'RQ]LJHURUKLVDJHQWVWR³PRQHWL]HRUSURILWIURPWKH(F

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URQ¶VFODLPVWKDW'RQ]LJHUKDVYLRODWHGWKLV&RXUW¶V5,&2LQMXQFWLRQGRFXPHQWVFRQFHUQLQJ

PRQHWL]DWLRQRIWKH(FXDGRULDQMXGJPHQWRUSURSHUW\'RQ]LJHUKDVREWDLQHGDUHDOVRUHOHYDQWWR

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ZRXOGPDNHWKHPLPSURSHUXQGHU5XOH D  

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GHSRVLWLRQVXESRHQDWR.DWLH6XOOLYDQZDVDXWKRUL]HGXQGHU5XOHDQG1HZ<RUNODZ6HH

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HQIRUFHPHQWDQGLWVHIIRUWVWRSURYH'RQ]LJHUKDGYLRODWHGWKH5,&2LQMXQFWLRQ<HWFRQVLVWHQW

ZLWKWKHDXWKRULWLHVFLWHGDERYHWKH&RXUWGLGQRWRUGHUWKDWWKHGHSRVLWLRQFRXOGDGGUHVVRQO\

PRQH\MXGJPHQWLVVXHV

       6DOD]DUFLWHVVHYHUDOFDVHVIRUWKHSURSRVLWLRQWKDWGLVFRYHU\SXUVXDQWWR5XOHPXVWEH

FRQILQHGWRWRSLFVUHODWHGWRWKHMXGJPHQWGHEWRU¶VDVVHWVEXWWKRVHDXWKRULWLHVDUHLQDSSRVLWH

1RQHRIWKRVHFDVHVLQYROYHGDVLWXDWLRQZKHUHDSDUW\VRXJKWWRSXUVXHGLVFRYHU\XQGHU5XOH

WRHQIRUFHDQLQMXQFWLRQ,QIDFWLWDSSHDUVWKDWLQHDFKFDVHWKHRQO\RSHUDWLYHMXGJPHQWZDVDQ

H[FOXVLYHO\PRQH\MXGJPHQW$FFRUGLQJO\WKRVHFDVHVGLGQRWUDLVHWKHTXHVWLRQZKHWKHUGLV

FRYHU\UHOHYDQWWRVKRZLQJYLRODWLRQVRIDQLQMXQFWLYHRUGHUZDVSHUPLVVLEOH%XWDVVKRZQEH

ORZZKHUHDVKHUHWKHFRXUWKDVLVVXHGERWKPRQH\DQGQRQPRQH\MXGJPHQWV5XOH D  

DXWKRUL]HVGLVFRYHU\UHODWHGWRWKHFRXUW¶VQRQPRQHWDU\UHOLHI

               E     5XOH¶V7HUULWRULDO5HVWULFWLRQV'R1RW$SSO\WRD6XESRHQD6HUYHG
                       8QGHU1HZ<RUN/DZ

       1H[W6DOD]DUDUJXHVWKDW5XOHGRHVQRWUHOD[WKHWHUULWRULDOUHVWULFWLRQVRI5XOH

%XW6DOD]DU¶VDUJXPHQWPLVXQGHUVWDQGVWKHLVVXH5XOHGRHVQRWFKDQJHWKHUHTXLUHPHQWVRI

5XOH5DWKHU5XOHDXWKRUL]HV&KHYURQWRVHUYHVXESRHQDVXQGHU1HZ<RUNODZZKLFK




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GRHVQRWLQFOXGHWKHVDPHWHUULWRULDOUHVWULFWLRQVDV5XOH7KHIDFWWKDWVXESRHQDVVHUYHGXQ

GHU5XOH D  DQG1HZ<RUNODZQHHGQRWFRPSO\ZLWKWKHSURYLVLRQVRI5XOHKDVEHHQ

UHFRJQL]HGE\DQXPEHURIFRXUWV²LQFOXGLQJE\WKLV&RXUWLQWKLVDFWLRQ

       7KHWH[WRI5XOH D  LVFOHDU³$MXGJPHQWFUHGLWRUSURFHHGLQJXQGHU5XOH D PD\

XWLOL]HHLWKHUVWDWHSUDFWLFHRUWKH)HGHUDO5XOHVIRUWDNLQJGHSRVLWLRQV´(O6DOWR6$Y36*

&R)GQ WK&LU &RQVLVWHQWZLWKWKHFOHDUODQJXDJHRI5XOH D  

&RXUWVLQWKH6RXWKHUQ'LVWULFWKDYHUHSHDWHGO\KHOGWKDWVXESRHQDVLVVXHGXQGHU5XOHDUH

YDOLGLIWKH\FRPSO\ZLWKHLWKHUIHGHUDOODZRU1HZ<RUNVWDWHODZ6HH)LUVW&LW\7H[DV+RX

VWRQ1$Y5DILGDLQ%DQN)5' 6'1< DII GVXEQRP)LUVW&LW\

7H[DV+RXVWRQ1$Y5DILGDLQ%DQN)G G&LU  ³7KXVZKHQ5XOHGLVFRY

HU\LVVRXJKWIURPDSDUW\UHSUHVHQWHGE\DQDWWRUQH\VHUYLFHPD\SURFHHGHLWKHUXQGHU5XOH E 

RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHRUXQGHUWKHUXOHVRIVHUYLFHHVWDEOLVKHGLQWKHUHOHYDQW

VWDWH´ $PDSURS/WGY,QGLDEXOOV)LQ6HUYV/WG1R&,93**-&):/

DW  6'1<2FW  ³6RLIVHUYLFHRQ,QGLDEXOOVYLD6NDGGHQZDVSURSHU

XQGHUHLWKHUIHGHUDORU1HZ<RUNODZWKH+DJXH6HUYLFH&RQYHQWLRQGRHVQRWDSSO\´ 

       7KLVFRQFOXVLRQPDNHVVHQVHSDUWLFXODUO\ZKHQYLHZHGLQWKHFRQWH[WRI5XOH¶VJRDO

RISURYLGLQJSDUWLHVVHHNLQJWRHQIRUFHMXGJPHQWVZLWKWKHEURDGHVWVHWRIGLVFRYHU\WRROV6HH

5HWDPFR2SHUDWLQJ,QFY&DURQH1R&9&%05=;:/DW  &'

&DO-XQH  ³>7@KHXVHRIWKHGLVMXQFWLYHµRU¶HQODUJHVWKHSRVVLELOLWLHVIRUFRQGXFWLQJ

SRVWMXGJPHQWGLVFRYHU\DSDUW\PD\XVHVWDWHSURFHGXUHVRUIHGHUDOSURFHGXUHVDQGWKHUHIRUH

LPSOLFLWO\ERWK´ )RUH[DPSOH5XOHDXWKRUL]HVWKUHHW\SHVRIVXESRHQDVVXESRHQDVWRWHV

WLI\VXESRHQDVWRSURGXFHGRFXPHQWVDQGVXESRHQDVWRDOORZWKHLQVSHFWLRQRISUHPLVHV)HG

5&LY3 D  $ LLL 7KXVLIDVXESRHQDLVVXHGXQGHU5XOH D  KDGWRFRPSO\ZLWK




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5XOHDV6DOD]DUFODLPVWKLVZRXOGOHDGWRWKHDEVXUGFRQFOXVLRQWKDWDMXGJPHQWFUHGLWRU

FRXOGQRWVHUYHDQLQIRUPDWLRQVXESRHQDDVSHUPLWWHGXQGHU1HZ<RUNODZVHHNLQJZULWWHQDQ

VZHUVWRSDUWLFXODULQTXLULHV6HH&3/5 D  <HWFRXUWVKDYHUHSHDWHGO\UHFRJQL]HGWKDW

5XOH D  DXWKRUL]HVWKHVHUYLFHRILQIRUPDWLRQVXESRHQDVLQ1HZ<RUN6HHHJ8QLYHUVL

WDV(GXF//&Y1RYD*US,QF1R&,9/76+%3:/DW 

    6'1<-DQ VHHDOVR8QLWHG6WDWHVY0F:KLUWHU)G WK&LU 

    DOORZLQJXVHRIZULWWHQLQWHUURJDWRULHVXQGHU5XOHDQG7H[DVVWDWHODZ 

          ,QGHHGWKLV&RXUWKDVUHDFKHGWKHVDPHFRQFOXVLRQLQWKLVYHU\FDVH(DUOLHULQWKHVHSUR

FHHGLQJV'RQ]LJHUFKDOOHQJHG&KHYURQ¶VVXESRHQDVWR.DWLH6XOOLYDQDUJXLQJLQWHUDOLDWKDWKH

ZDVQRWSURYLGHGZLWKQRWLFHRIWKHVXESRHQDDVUHTXLUHGE\5XOH D  %XWDVWKLV&RXUW

FRUUHFWO\KHOGWKHVXESRHQDVZHUHSURSHUO\VHUYHGXQGHU1HZ<RUNODZZKLFKGRHVQRWUHTXLUH

QRWLFHWRWKHMXGJPHQWGHEWRU'NW-XVWDVEHIRUHWKHUHLVQRUHDVRQWRKROGWKDWDVXE

SRHQDVHUYHGXQGHU1HZ<RUNODZLVVRPHKRZVXEMHFWWRWKHUHTXLUHPHQWVRI5XOH

          2QFHDJDLQ6DOD]DU¶VDXWKRULWLHVDUHQRWWRWKHFRQWUDU\6DOD]DUFLWHV*0$$FFHVVRULHV

,QFY(OHF:RQGHUODQG,QFIRUWKHSURSRVLWLRQWKDW5XOHJRYHUQVDOOVXESRHQDVUHJDUGOHVV

RIWKHFRQWH[WLQZKLFKWKH\DUHLVVXHGVHH1R&,93.&'):/DW 

    6'1<0D\ %XW*0$$FFHVVRULHVVXSSRUWV&KHYURQ¶VSRVLWLRQQRW6DOD]DU¶V

7KH*0$$FFHVVRULHVFRXUWPDGHWKHVWDWHPHQW6DOD]DUTXRWHVLQWKHFRQWH[WRIGLVFXVVLQJWKH

DSSOLFDEOHIHGHUDOUXOHVDQGDVDUHVXOWLWVVWDWHPHQWUHJDUGLQJ5XOH¶VDSSOLFDELOLW\ZDVFRQ

ILQHGWRVXESRHQDVLVVXHGXQGHUIHGHUDOODZ,G+RZHYHUWKHFRXUWLQFOXGHGDVHSDUDWHVHFWLRQ

LQZKLFKLWDQDO\]HG1HZ<RUNVWDWHSURFHGXUHDQGH[SOLFLWO\UHFRJQL]HGWKDW³>L@QWKLVFDVH




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1HZ<RUNLVWKHIRUXPVWDWHDQGWKXVGLVFRYHU\SXUVXDQWWR1HZ<RUNSURFHGXUHVZRXOGEHSHU

PLVVLEOHKHUHXQGHU5XOH´,GDW  

        6DOD]DU¶VVXEVHTXHQWDVVHUWLRQWKDWIHGHUDOODZPXVWJRYHUQZKHQHYHUWKHUHLVD³FRQ

IOLFW´EHWZHHQIHGHUDOSURFHGXUHDQGVWDWHSURFHGXUHLVPHULWOHVVDQGVWHPVIURPDPLVUHDGLQJRI

5XOH¶VWH[W5XOH D  JRYHUQVWKHDFWXDOHQIRUFHPHQWRIDPRQH\MXGJPHQWDQGSURYLGHV

WKDWPRQH\MXGJPHQWVDUH³HQIRUFHGE\DZULWRIH[HFXWLRQXQOHVVWKHFRXUWGLUHFWVRWKHUZLVH´

7KDWSURYLVLRQJRHVRQWRVWDWH³7KHSURFHGXUHRQH[HFXWLRQ²DQGLQSURFHHGLQJVVXSSOHPHQ

WDU\WRDQGLQDLGRIMXGJPHQWRUH[HFXWLRQ²PXVWDFFRUGZLWKWKHSURFHGXUHRIWKHVWDWHZKHUH

WKHFRXUWLVORFDWHGEXWDIHGHUDOVWDWXWHJRYHUQVWRWKHH[WHQWLWDSSOLHV´7KXVIHGHUDOODZJRY

HUQVZKHQVWDWHODZDQGIHGHUDOODZFRQIOLFWDVWRZULWVRIH[HFXWLRQRURWKHU³SURFHHGLQJVVXS

SOHPHQWDU\WRDQGLQDLGRIMXGJPHQWRUH[HFXWLRQ´

        +RZHYHUGLVFRYHU\³>L@QDLGRIDMXGJPHQWRUH[HFXWLRQ´LVJRYHUQHGE\5XOH D  

QRW5XOH D  5XOH D  SURYLGHVWKDWDSDUW\³PD\REWDLQ>SRVWMXGJPHQW@GLVFRYHU\

IURPDQ\SHUVRQ²LQFOXGLQJWKHMXGJPHQWGHEWRU²DVSURYLGHGLQWKHVHUXOHVRUE\WKHSURFHGXUH

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ODZJRYHUQVZKHUHIHGHUDODQGVWDWHODZ³FRQIOLFW´QRUZRXOGLWPDNHVHQVHWRKDYHLQFOXGHG

VXFKDSURYLVLRQ6HH&DURQH:/DW  ³>7@KHXVHRIWKHGLVMXQFWLYHµRU¶HQ

ODUJHVWKHSRVVLELOLWLHVIRUFRQGXFWLQJSRVWMXGJPHQWGLVFRYHU\DSDUW\PD\XVHVWDWHSURFHGXUHV

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      PRYHGWRTXDVKE\DUJXLQJWKDWWKHMXGJPHQWFUHGLWRUKDGIDLOHGWRFRPSO\ZLWK1HZ<RUN
      VHUYLFHUXOHVZKHQVHUYLQJWKHVXESRHQDV:/DW 7KHFRXUWUHMHFWHGWKHVH
      DUJXPHQWVKROGLQJWKDWWKHVXESRHQDVZHUHYDOLGEHFDXVHWKH\FRPSOLHGZLWKIHGHUDOUXOHV
      RQVHUYLFH,G7KLVKROGLQJLVFRQVLVWHQWZLWK)LUVW&LW\DQG$PDSURSERWKRIZKLFKKHOG
      WKDWVHUYLFHRID5XOHVXESRHQDLVYDOLGZKHQLWFRPSOLHVZLWKHLWKHU1HZ<RUNODZRU
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       &RXUWVLQWKH6RXWKHUQ'LVWULFWKDYHUHFRJQL]HGWKDWWKDWWKHUHLVQRQHHGWRUHVROYHDSXU

SRUWHG³FRQIOLFW´EHWZHHQIHGHUDOODZDQGVWDWHODZZKHQDSDUW\LVSXUVXLQJGLVFRYHU\DVRS

SRVHGWRHQIRUFHPHQW$VQRWHGDERYHWKHFRXUWVLQ)LUVW&LW\DQG$PDSURSERWKKHOGWKDWVHU

YLFHRID5XOHVXESRHQDLVYDOLGZKHQLWFRPSOLHVZLWKHLWKHU1HZ<RUNODZRUIHGHUDOODZ

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SRVWMXGJPHQWGLVFRYHU\FRQWH[WWKHFRXUWGRHVQRWQHHGWRFKRRVH²GLVFRYHU\VKRXOGEHDO

ORZHGLILWFRPSOLHVZLWKHLWKHUVWDWHODZRUIHGHUDOODZ

       7KHFDVHV6DOD]DUFLWHVIRUWKHFRQWUDU\SRVLWLRQGRQRWFRQIOLFWZLWKWKLVUHVXOWEHFDXVH

WKH\LQYROYHHQIRUFHPHQWQRWMXVWGLVFRYHU\,Q6FKQHLGHUWKH6HFRQG&LUFXLWFRQVLGHUHG

ZKHWKHUVWDWHODZRUIHGHUDOODZVKRXOGDSSO\WRGHWHUPLQHZKHWKHUDOHY\RQDZULWRIH[HFXWLRQ

ZDVSURSHUO\VHUYHG6FKQHLGHUY1DW O553DVVHQJHU&RUS)G G&LU 

&RQVLVWHQWZLWK5XOH D  WKH6HFRQG&LUFXLWIRXQGWKDWIHGHUDOODZJRYHUQHGWRWKHH[WHQWLW

FRQIOLFWHGZLWKVWDWHODZ,GDW±%XWWKDWVWUDLJKWIRUZDUGDSSOLFDWLRQRI5XOH D  LV

LUUHOHYDQWWRWKLVPRWLRQZKLFKDULVHVXQGHU5XOH D  

       6LPLODUO\WKH6DEROFDVHRXWRIWKH'LVWULFWRI0DU\ODQGLQYROYHGDVXESRHQDIRUDWKLUG

SDUW\WRDSSHDUDVSDUWRID³SURFHHGLQJVXSSOHPHQWDU\´XQGHU0DU\ODQGODZ6HH6DEROY

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VXSSOHPHQWDU\SURFHHGLQJVLQDLGRIHQIRUFHPHQW´DQGUHTXHVWHGWKDWWKHFRXUWLVVXHDVXESRHQD

XQGHUWKH0DU\ODQGUXOHVJRYHUQLQJSURFHHGLQJVVXSSOHPHQWDU\ 7KH6DEROFRXUWFRUUHFWO\UHF

RJQL]HGWKDWSURFHHGLQJVVXSSOHPHQWDU\DUHH[SOLFLWO\JRYHUQHGE\5XOH D  ²QRW5XOH

 D  ²DQGVRDSSOLHGWKHVXESRHQDUXOHVIURP5XOHUDWKHUWKDQWKHFRQIOLFWLQJ0DU\ODQG

UXOHV,G)DUIURPEHLQJ³VTXDUHO\RQSRLQW´6DEROLVLQDSSOLFDEOHWRWKLVPRWLRQ




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       ,QVKRUW5XOH D  DOORZV&KHYURQWRSXUVXHGLVFRYHU\XQGHUHLWKHU1HZ<RUNODZRU

IHGHUDOODZDQGWKHSURYLVLRQVRI5XOHGRQRWJRYHUQVXESRHQDVVHUYHGXQGHU1HZ<RUNODZ

               F     &KHYURQ¶V6XESRHQDV:HUH6HUYHG8QGHU1HZ<RUN/DZ

       )LQDOO\6DOD]DUDVVHUWVWKDW&KHYURQGLGQRWLQYRNH1HZ<RUNVWDWHSURFHGXUHVDQGWKXV

1HZ<RUNODZLVLQDSSOLFDEOH,QWKLV6DOD]DULVZURQJ&KHYURQ¶V6XESRHQDVZHUHLVVXHGXQ

GHUERWKIHGHUDODQG1HZ<RUNODZDQGLVVXEVWDQWLDOO\LGHQWLFDOWRWKH6XOOLYDQVXESRHQDWKLV

&RXUWDOUHDG\IRXQGWREHLVVXHGSXUVXDQWWR1HZ<RUNODZ

       6DOD]DU¶VDUJXPHQWSURFHHGVIURPWKHIDOVHSUHPLVHWKDW&KHYURQ¶V6XESRHQDVPXVWEH

FRQVWUXHGDVHLWKHU5XOHVXESRHQDVRU1HZ<RUNVXESRHQDV,QUHDOLW\&KHYURQVHUYHGWKH

6XESRHQDVXQGHUERWKIHGHUDODQG1HZ<RUNODZDVSHUPLWWHGE\5XOH6HH&DURQH

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XVHSURFHGXUHVXQGHUHLWKHU6WDWHRUIHGHUDOODZKRZHYHUWKHUXOHGRHVQRWUHTXLUHWKHMXGJPHQW

FUHGLWRUWRPDNHDQHOHFWLRQEHWZHHQIHGHUDODQGVWDWHSURFHGXUHV5DWKHUWKHXVHRIWKHGLVMXQF

WLYHµRU¶HQODUJHVWKHSRVVLELOLWLHVIRUFRQGXFWLQJSRVWMXGJPHQWGLVFRYHU\DSDUW\PD\XVHVWDWH

SURFHGXUHVRUIHGHUDOSURFHGXUHVDQGWKHUHIRUHLPSOLFLWO\ERWK´ 

       ,WLVWUXHWKDW&KHYURQ¶V6XESRHQDVLQFOXGHG5XOHVXESRHQDIRUPVEXWWKDWIDFWLVQRW

GLVSRVLWLYH&KHYURQ¶V6XESRHQDVDOVRLQFOXGHGDVHSDUDWHGRFXPHQWWLWOHG³VXESRHQD´ UDWKHU

WKDQVLPSO\DQ³H[KLELW$´ ZKLFKVSHFLILFDOO\VWDWHGWKDWIDLOXUHWRFRPSO\ZLWKWKH6XESRHQDV

ZRXOGEHSXQLVKDEOHE\FRQWHPSWXQGHUWKH&3/5'NWDW7KHODQJXDJHRI&KHY

URQ¶V6XESRHQDVZDVLGHQWLFDOWRWKHODQJXDJHWKDW&KHYURQXVHGLQLWVGHSRVLWLRQDQGGRFXPHQW

VXESRHQDVWR.DWLH6XOOLYDQ ZKLFKDOVRFRQWDLQHG5XOHVXESRHQDIRUPV &RPSDUH'NW

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DERYHWKLV&RXUWSURSHUO\IRXQGWKDWWKH6XOOLYDQVXESRHQDZDVLVVXHGXQGHU1HZ<RUNODZ

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RUXVHDGLIIHUHQWIRUPDWWRLQYRNHLWVULJKWWRSXUVXHGLVFRYHU\XQGHU1HZ<RUNVWDWHODZLQWKLV

PDWWHU²QRUVKRXOGLWEHUHTXLUHGWR

       ,QVXP5XOHDXWKRUL]HG&KHYURQWRVHUYHGLVFRYHU\UHTXHVWVSXUVXDQWWR1HZ<RUN

ODZLQDGGLWLRQWRIHGHUDOODZ5XOHGRHVQRWJRYHUQRUPRGLI\VXESRHQDVLVVXHGXQGHU1HZ

<RUNODZ$QGILQDOO\&KHYURQ¶V6XESRHQDVZHUHLVVXHGXQGHU1HZ<RUNODZ$VDUHVXOWWKH

&RXUWVKRXOGGHQ\6DOD]DU¶VPRWLRQWRTXDVKRQWKHEDVLVRI5XOH¶VPLOHUXOHEHFDXVHWKDW

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FRQVWUXHGDVVXESRHQDVLVVXHGH[FOXVLYHO\XQGHU5XOH6DOD]DUZDVVHUYHGZLWKWKH6XESRH

QDVZKLOHKHZDVLQ1HZ<RUNRQEXVLQHVVUHODWHGWRWKLVFDVH$OWKRXJKWKHUHLVQRFOHDUVWDQG

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WKUHH\HDUV$GGLWLRQDOO\DVGLVFXVVHGDERYH6DOD]DUKDVQRWEHHQIRUWKULJKWZLWKWKLV&RXUWUH

JDUGLQJKLVLQYROYHPHQWLQWKLVFDVHJHQHUDOO\ZKLFKUDLVHVDWVHULRXVFUHGLELOLW\LVVXHVUHJDUGLQJ

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VRFLDWLRQZLWK'RQ]LJHUDQGKLVILQDQFLDOVWDNHLQWKHFDVH

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SRHQDVDUHGLVWLQJXLVKDEOHDQGRIWHQRXWGDWHG7KXVHYHQLIWKLV&RXUWZHUHWRDJUHHZLWK6DOD

]DUWKDWWKH6XESRHQDVGRQRWFRPSO\ZLWKWKHPLOHUXOHLWVKRXOGPRGLI\WKH6XESRHQDV

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               D     7KH'RFXPHQW6XESRHQD,V9DOLG

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       $OWKRXJKWKHGRFXPHQWVXESRHQDUHTXHVWVWKDW6DOD]DUSURGXFHWKHGRFXPHQWVDW*LEVRQ

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VHQGLQJWKHUHTXHVWHGGRFXPHQWVHOHFWURQLFDOO\RUE\PDLOLQJWKHGRFXPHQWV,QGHHGWKDWLVWKH

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       6DOD]DUDVVHUWVWKDWWKDWWKH&RXUW³PXVW´TXDVKDVXESRHQDVHUYHGRXWVLGHRIWKHZLW

QHVV¶VPLOHUDGLXV%XW6DOD]DU¶VDUJXPHQWLJQRUHVWKHFOHDUODQJXDJHRI5XOHDQGWKLV

&RXUW¶VZHOOUHDVRQHGRSLQLRQVLQDWOHDVWWZRFDVHVZLWKVLPLODUIDFWV:KHUHDVKHUHWKHVXE

SRHQDZDVSURSHUO\VHUYHGRQDIRUHLJQQDWLRQDOZKLOHKHZDVLQWKH8QLWHG6WDWHVPRGLILFDWLRQ

RIWKHVXESRHQDLVWKHDSSURSULDWHUHPHG\IRUDQ\YLRODWLRQRIWKHPLOHUXOH

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       7KHSODLQODQJXDJHRI5XOHSHUPLWVPRGLILFDWLRQRIDVXESRHQDIRXQGQRWWRFRPSRUW

ZLWKWKHPLOHUXOH5XOH F ¶VPLOHUXOHSURYLGHVWKDWDVXESRHQDPD\QRWFRPSHOWKH

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VLGHVLVHPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQ´%XWLWLV5XOH G  WKDWJRY

HUQVWKHUHPHG\IRUYLRODWLRQVRIWKHPLOHUXOHDQGSURYLGHVWKDW³>R@QWLPHO\PRWLRQWKH

FRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDWUH

TXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWVVSHFLILHGLQ5XOH F ´ (PSKDVLV

DGGHG 7KXVZKLOHDFRXUWPXVWWDNHVRPHDFWLRQZKHQDVXESRHQDGRHVQRWFRPSRUWZLWKWKH

PLOHUXOH5XOHH[SUHVVO\SURYLGHVWKDWWKHFRXUWPD\PRGLI\WKHVXESRHQD

       2QDWOHDVWWZRRFFDVLRQVWKLV&RXUWKDVFRQIURQWHGIDFWVQHDUO\LGHQWLFDOWRWKRVHLQWKLV

FDVH,QERWKLQVWDQFHVWKLV&RXUWHOHFWHGWRPRGLI\WKHVXESRHQDUDWKHUWKDQTXDVKLQJLWFDOO

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ILOPIHVWLYDOLQ%RVWRQ,GDW7KHUHZDVQRLQGLFDWLRQWKDWWKH7XUNLVKFLWL]HQFRQGXFWHG



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EXVLQHVVZLWKLQPLOHVRI%RVWRQRUWKDWWKHVXESRHQDDWLVVXHRWKHUZLVHFRPSRUWHGZLWKWKH

PLOHUXOH,G+RZHYHUDVWKLV&RXUWQRWHGDSSO\LQJWKHPLOHUXOHWRTXDVKWKHVXE

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        $SSOLHGOLWHUDOO\KRZHYHU>WKHPLOHUXOH@FRXOGZHOOKDYHWKHHIIHFWRISUH
        YHQWLQJIRUH[DPSOHWKHHQIRUFHPHQWRIDVXESRHQD D GXO\VHUYHGRQDIRUHLJQ
        QDWLRQDO E RQWKHVWHSVRIWKHLVVXLQJFRXUWKRXVH F FDOOLQJIRUDGHSRVLWLRQ
        ZLWKLQ\DUGVRIWKHSODFHRIVHUYLFH G GXULQJWKHZLWQHVV¶VRWKHUZLVH
        SODQQHGVWD\LQWKH8QLWHG6WDWHVEHFDXVHWKDWIRUHLJQQDWLRQDO²DOWKRXJKSK\VL
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        SOR\HGQRUUHJXODUO\WUDQVDFWVEXVLQHVVWKHUH7KXVWKHUHLVVXEVWDQWLDOUHDVRQWR
        EHOLHYHWKDWWKH5XOHVKRXOGQRWEHFRQVWUXHGWRUHTXLUHWKDWDEVXUGUHVXOW

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SRUWZLWKWKHPLOHUXOH,GDW7KH&RXUWZHQWRQWRPRGLI\WKHVXESRHQDWRUHTXLUH

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           6DOD]DUDWWHPSWVWRPXGG\WKHZDWHUVE\FLWLQJWRDQXPEHURIRXWRIGLVWULFWDQGRXWRI

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FRXUWPXVWTXDVKDQGKDVQRGLVFUHWLRQWRPRGLI\DVXESRHQDWKDWGRHVQRWRWKHUZLVHFRPSRUW

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FDVHVWKDW6DOD]DUFLWHVFRQVLGHUHGPRGLILFDWLRQDVDQDOWHUQDWLYHWRTXDVKDOQRUGLGDQ\JUDSSOH

ZLWKKRZ5XOH G FRXOGEHFRQVWUXHGWRUHTXLUHTXDVKLQJDVXESRHQDZKHQWKH5XOHLWVHOI

VWDWHVWKDWWKHVXESRHQDPD\EHTXDVKHGRUPRGLILHG ,QIDFWRQHRI6DOD]DU¶VRZQFDVHVDX

WKRUL]HGDPRGLILFDWLRQRIWKHVXESRHQDWKDWFKDQJHGWKHORFDWLRQRIDGHSRVLWLRQWKHUHE\³UH

VROY>LQJ@'HIHQGDQWV FRQFHUQDERXWWKH±PLOHUXOH´6HH6FKXOPDQY6DORRQ%HYHUDJH,QF

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     GHSRVLWLRQLQDORFDWLRQDJUHHGWRE\WKHSDUWLHVRULQWKHDOWHUQDWLYHLQDIRUHLJQFRXQWU\
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     PDNHVSHUIHFWVHQVHWKDWWKH&RXUWKDVWKHDXWKRULW\WRRUGHUWKDWZLWQHVVWRDSSHDUIRUDGHS
     RVLWLRQLUUHVSHFWLYHRIZKHWKHUWKDWGHSRVLWLRQRFFXUVLQWKH8QLWHG6WDWHVRULQDIRUHLJQ
     FRXQWU\7KHWZRFDVHV6DOD]DUFLWHVDUHGLVWLQJXLVKDEOHDQGFRQWUDU\WR6XSUHPH&RXUWSUHF
     HGHQW)LUVWLQ10/&DSLWDOWKHFRXUWDGPLWWHGWKDWLWODFNHGSHUVRQDOMXULVGLFWLRQRYHUWKH
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    DQGFRQWLQXHVWRKDYH DPSOHUHDVRQWREHOLHYH6DOD]DUPD\UHJXODUO\WUDQVDFWEXVLQHVVLQSHU

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      IRXQGWKDWFRXQVHOGHSRVLWLRQVZDVQHFHVVDU\DQGDSSURSULDWHZKHQLQWHUDOLDWKH³DWWRUQH\V
      >ZHUH@OLNHO\WRSRVVHVVLQIRUPDWLRQZKLFKLVUHOHYDQWLQGHHGFUXFLDOWRSODLQWLII V>@
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